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		OSCN Found Document:RE RULES AND PROCEDURES FOR THE DISPUTE RESOLUTION ACT, APP. C

					

				
  



				
					
					
						
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				RE RULES AND PROCEDURES FOR THE DISPUTE RESOLUTION ACT, APP. C2018 OK 80Decided: 10/08/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 80, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



RE: Rules and Procedures for the Dispute Resolution Act; Appendix C - Acknowledgment of Confidentiality and Rules of Conduct




ORDER


The form set forth in Appendix C of the Rules and Procedures for the Dispute Resolution Act, Title 12, Chap. 37, App., is hereby withdrawn and replaced in its entirety with the Acknowledgment Form set forth on the attached Exhibit. All persons attending a proceeding in the Dispute Mediation Program must abide by the applicable Confidentiality Provisions (12 O.S. §1805) and Rules of Conduct for Outside Parties Attending Mediation Hearing (Rule 10, Rules and Procedures for the Dispute Resolution Act, Title 12, Chap. 37, App), and shall be required to execute this Acknowledgment Form before attending a mediation proceeding.

DONE BY ORDER OF THE OKLAHOMA SUPREME COURT IN CONFERENCE THIS 8TH DAY OF OCTOBER, 2018.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR



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Confidentiality and Rules of Conduct Acknowledgement Form

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